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                     UNITED STATES DISTRICT COURT

                        DISTRICT OF CONNECTICUT


JESSE JABLON                            :

VS.                                     :      NO. 3:16cv2107(WWE)

TIMOTHY M. HERBST                       :      FEBRUARY 7, 2018


                       CONSENT MOTION TO DISMISS


      The captioned case having been settled, the plaintiff moves that the

action be dismissed with prejudice and without costs.


                                 THE PLAINTIFF


                                 BY:                 /s/  (ct00215)
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CERTIFICATION OF SERVICE

On the date above stated, a copy of the foregoing was filed electronically and
served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent by e-mail to all parties by operation of the Court’s electronic filing
system or by mail to anyone unable to accept electronic filing as indicated on the
Notice of Electronic Filing. Parties may access this filing through the Court’s
CM/ECF System.


                                           /s/
                                  JOHN R. WILLIAMS




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